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                                                           July 11, 2022

     Via ECF and Email
     Honorable Thomas I. Vanaskie, Special Master
     Stevens & Lee, P.C.
     1500 Market Street, East Tower, 18th Floor
     Philadelphia, Pennsylvania 19103

                Re:        In re Valsartan, Losartan, and Irbesartan Products Liability Litigation,
                           No. 1:19-md-02875-RBK (D.N.J.)

     Dear Judge Vanaskie:

          Plaintiffs respectfully submit this letter in advance of the July 13, 2022 status conference.

          1. Losartan and Irbesartan Core Discovery

                Plaintiffs and Defendants have now had two meet and confer calls regarding core discovery

     for losartan and irbesartan. The Parties have largely reach agreement on the Core Discovery, with

     the exception of the following:

          •     Relevant Time Period: Plaintiffs have asked Defendants to provide information

                surrounding the contamination period for their ICDs and LCDs, as Plaintiffs do not have

                sufficient documentation from Defendants to determine the relevant time period.

                Defendants have agreed to provide this information but have not yet done so. Plaintiffs

                therefore request that Defendants provide to Plaintiffs their proposed Relevant Time Period
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        for Core Discovery no later than Friday, July 15, 2022. Plaintiffs will attempt to verify

        these dates with the limited documents available to them, and the Parties will write to the

        Court if they cannot agree.

    •   Section 6(a)(v) and 6(b)(iv): Plaintiffs seek all nitrosamine test results for all ICDs and

        LCDs. Defendants want to limit this to the results provided to the FDA. As the Court has

        seen, these levels were not always consistent. Indeed, the fact that many levels were

        inconsistent are critical pieces of evidence in the valsartan part of this MDL. Given this,

        and the upcoming mediation, it is critical for all parties to understand the true

        contamination levels in all products in this MDL. Plaintiffs anticipate that this information

        is not only relevant for them, but also that defendants will attempt to point to contamination

        levels in pills manufactured by other defendants in an effort to minimize their own liability

        for settlement purposes. Defendants have been on notice of this litigation for years and are

        acutely aware of the importance of nitrosamine testing to the litigation. Nitrosamine testing

        documents should have been (and likely were) collected by Defendants years ago in

        anticipation of future discovery. Defendants should be required to produce comprehensive

        test results for their ICDs and LCDs.

    •   Timing of Production: Plaintiffs are generally amenable to a 90-day rolling production

        period, so long as the production is truly a rolling one. Plaintiffs therefore request that

        Defendants be required to product testing levels and sales data within 30 days and the rest

        on a rolling basis with weekly productions throughout the 90-day period.

    2. Attendance of Court-Ordered Mediations

        The Court ordered in-person settlement conferences “for Defendants Zhejiang Huah[a]i

 Pharmaceuticals Co. Ltd., Mylan Laboratories Ltd., Hetero Laboratories Ltd., Aurobindo
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 Pharmaceuticals Ltd., and their subsidiaries and affiliates shall attend.” (ECF 2100). Plaintiffs

 would like to confirm that all Teva and Torrent entities are included as “affiliates” of the API

 manufacturers for purposes of this order, as those entities purchased API and then manufactured

 or sold finished drug product using that API.

    3. Entry of Case Management Order

        On May 31, 2022, Plaintiffs asked the Court to enter a schedule for liability expert reports,

 Rule 56 Motions, and related matters. (ECF 2073). At the following case management conference,

 the Court confirmed the schedule with an addition of sixty days to each deadline. (6/01/2022 Tr.

 29:1-4). Plaintiffs respectfully ask the Court to enter the attached proposed order memorializing

 this schedule. (Ex. 1 hetero).

        Thank you for your courtesies and consideration.

                                       Respectfully,



                                      ADAM M. SLATER
 Encl.
 cc:   All Counsel (via CM/ECF)
